Case 1:21-cr-00120-WES-PAS Document 19 Filed 01/03/22 Page 1 of 2 PagelD #: 43

AO 83 (Rev. 06/09) Summons in a Criminal Case

 

 

UNITED STATES DISTRICT COURT

for the

 

District of Rhode Isla=4

RECEIVED

By Dianna Prete at 2:13 pm, Dec 01, 2021

United States of America
Vv.

JAMES WARD JACKSON

 

)
)
)
) Case No. CR 21-120WES
)
)
)

Defendant
SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

@ Indictment 1 Superseding Indictment O Information © Superseding Information [ Complaint

O Probation Violation Petition [ Supervised Release Violation Petition [ Violation Notice © Order of Court

Zoom Hearin y :
Place: Meeting ID: a 754 7528 ‘Courtroom No.: Video Hearing

Passcode: 693330 =~ = _
Date and Time: 12/21/2021 2:00 pm

This offense is briefly described as follows:
RECEIPT OF CHILD PORNOGRAPHY in Violation of 18 USC 2252 (a)(2)&(b)

POSSESSION OF CHILD PORNOGRAPHY in Violation of 18 USC 2252(a)(4)(B)&(b)(2)

Date. 12/01/2021 _ /s| Martha Saucier _

Issuing officer's signature

 

Martha Saucier, Deputy Clerk

Printed name and title

 

 

I declare under penalty of perjury that I have:

A Executed and returned this summons [ Returned this summons unexecuted

   

Date: /a-[ro/a —

  

Server's signature

OST fuse, SPO _

Printed name and title
Case 1:21-cr-00120-WES-PAS Document 19 Filed 01/03/22 Page 2 of 2 PagelD #: 44
AO 83 (Rev. 06/09) Summons in a Criminal Case (Page 2)

 

 

Case No. CR 21-120WES

This second page contains personal identifiers and therefore should
not be filed in court with the summons unless under seal.
(Not for Public Disclosure)

INFORMATION FOR SERVICE
Name of defendant/offender:

Last known residence:

 

 

Usual place of abode (if different from residence address):

 

If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:

 

If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:

 

 

 

 

 

 

 

PROOF OF SERVICE
This summons was received by me on (date) _
0 I personally served the summons on this defendant at
(place) _ _onfdaey ; or
O On (date) I left the summons at the individual’s residence or usual place of abode
with (name) _, aperson of suitable age and discretion who resides

 

there, and [ mailed a copy to the individual’s last known address; or

C1 I delivered a copy of the summons to (name of individual) ;

 

who is authorized to receive service of process on behalf of (name of organization)

 

on (date) and | mailed a copy to

 

the organizations’s last known address within the district or to its principal place of business elsewhere in the
United States; or

©) The summons was returned unexecuted because:

 

 

I declare under penalty of perjury that this information is true.

Date returned: _12/90/2A _—

 

   

's signature

ost FRORY,. SOSA

Printed name and title

 

Remarks:

Airey Avg) RUE O40 Rune
